

Matter of Prutting (2022 NY Slip Op 02048)





Matter of Prutting


2022 NY Slip Op 02048


Decided on March 24, 2022


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:March 24, 2022

PM-60-22
[*1]In the Matter of George A. Prutting Jr., an Attorney. (Attorney Registration No. 2370211.)

Calendar Date:March 21, 2022

Before:Clark, J.P., Aarons, Pritzker, Colangelo and Ceresia, JJ.

George A. Prutting Jr., Moorestown, New Jersey, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



Per Curiam.
George A. Prutting Jr. was admitted to practice by this Court in 1990 and lists a business address in Audubon, New Jersey with the Office of Court Administration. Prutting now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Prutting's application.
Upon reading Prutting's affidavit sworn to February 4, 2022 and filed February 8, 2022, and upon reading the March 17, 2022 correspondence in response by the Chief Attorney for AGC, and having determined that Prutting is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
Clark, J.P., Aarons, Pritzker, Colangelo and Ceresia, JJ., concur.
ORDERED that George A. Prutting Jr.'s application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that George A. Prutting Jr.'s name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that George A. Prutting Jr. is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Prutting is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that George A. Prutting Jr. shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.








